Case 4:20-cv-00008-AT Document 427 Filed 12/21/20 Page 1 of 26
Case 4:20-cv-00008-AT Document 427 Filed 12/21/20 Page 2 of 26
Case 4:20-cv-00008-AT Document 427 Filed 12/21/20 Page 3 of 26
Case 4:20-cv-00008-AT Document 427 Filed 12/21/20 Page 4 of 26
Case 4:20-cv-00008-AT Document 427 Filed 12/21/20 Page 5 of 26
Case 4:20-cv-00008-AT Document 427 Filed 12/21/20 Page 6 of 26
Case 4:20-cv-00008-AT Document 427 Filed 12/21/20 Page 7 of 26
Case 4:20-cv-00008-AT Document 427 Filed 12/21/20 Page 8 of 26
Case 4:20-cv-00008-AT Document 427 Filed 12/21/20 Page 9 of 26
Case 4:20-cv-00008-AT Document 427 Filed 12/21/20 Page 10 of 26
Case 4:20-cv-00008-AT Document 427 Filed 12/21/20 Page 11 of 26
Case 4:20-cv-00008-AT Document 427 Filed 12/21/20 Page 12 of 26
Case 4:20-cv-00008-AT Document 427 Filed 12/21/20 Page 13 of 26
Case 4:20-cv-00008-AT Document 427 Filed 12/21/20 Page 14 of 26
Case 4:20-cv-00008-AT Document 427 Filed 12/21/20 Page 15 of 26
Case 4:20-cv-00008-AT Document 427 Filed 12/21/20 Page 16 of 26
Case 4:20-cv-00008-AT Document 427 Filed 12/21/20 Page 17 of 26
Case 4:20-cv-00008-AT Document 427 Filed 12/21/20 Page 18 of 26
Case 4:20-cv-00008-AT Document 427 Filed 12/21/20 Page 19 of 26
Case 4:20-cv-00008-AT Document 427 Filed 12/21/20 Page 20 of 26
Case 4:20-cv-00008-AT Document 427 Filed 12/21/20 Page 21 of 26
Case 4:20-cv-00008-AT Document 427 Filed 12/21/20 Page 22 of 26
Case 4:20-cv-00008-AT Document 427 Filed 12/21/20 Page 23 of 26
Case 4:20-cv-00008-AT Document 427 Filed 12/21/20 Page 24 of 26
Case 4:20-cv-00008-AT Document 427 Filed 12/21/20 Page 25 of 26
Case 4:20-cv-00008-AT Document 427 Filed 12/21/20 Page 26 of 26
